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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA; THE
COMMONWEALTHS OF
MASSACHUSETTS AND VIRGINIA; THE
STATES OF CALIFORNIA, DELAWARE,
CONNECTICUT, MARYLAND,                                    MEMORANDUM AND ORDER
COLORADO, FLORIDA, GEORGIA,                               14-1718 (FB)
ILLINOIS, INDIANA, HAWAII,
LOUISIANA, MICHIGAN, MONTANA,
NEW HAMPSHIRE, NEW MEXICO, NEW
YORK, NEVADA, TENNESSEE, NEW
JERSEY, RHODE ISLAND, OKLAHOMA,
WISCONSIN, NORTH CAROLINA,
MINNESOTA AND WASHINGTON, THE
CITY OF CHICAGO AND THE DISTRICT
OF COLUMBIA ex rel. ALLISON ZAYAS,

                      Plaintiff-Relator,

       -against-

ASTRAZENECA BIOPHARMACEUTICALS,
INC., ASTRAZENECA PLC,
ASTRAZENECA, LP, and ASTRAZENECA
PHARMACEUTICALS, LP,

                       Defendants.
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Appearances:
For the Plaintiff-Relator                             For the Defendants
Meredith Tavenner Shepherd-Demings                    John C. Dodds
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BLOCK, Senior District Judge:

      Plaintiff-relator Allison Zayas (“plaintiff”) brought a qui tam suit under the False

Claims Act (“FCA”) and multiple related state-law causes of action against defendants

Astrazeneca Biopharmaceuticals, Inc.; Astrazeneca PLC; Astrazeneca, LP; and Astrazeneca

Pharmaceuticals, LP (together, “defendants”). In her Amended Complaint, plaintiff alleges

that defendants (1) marketed Seroquel IR and Seroquel XR (together, “Seroquel”) as safe

to be prescribed with QT/QTc prolonging medications when they knew of the risks of such

concomitant prescriptions, and (2) engaged in off-label promotion of Seroquel, and that

both of these actions led to the submission of false claims for payments to state and federal

governments. Defendants now move to dismiss plaintiff’s off-label promotion claims

pursuant to Federal Rule of Civil Procedure 12(b)(1), and all of plaintiff’s claims under

Rule 12(b)(6). For the following reasons, the Rule 12(b)(1) motion is GRANTED and the

Rule 12(b)(6) is DENIED as to the QT/QTc federal claim in Count One and GRANTED

as to Count Two.1

      A. Rule 12(b)(1) Motion.

      The first-to-file rule under the FCA bars any new claim if it is “related” to an FCA

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     As discussed at the March 31, 2017 oral argument plaintiff agreed to withdraw her state law
  claims without prejudice to re-instate with a letter application. On April 6, 2017, the New York
  Attorney General’s office filed a letter claiming that plaintiff did not have the authority to withdraw
  those claims and requesting three weeks “to confer with all of the Plaintiff States and decide whether
  to seek reinstatement of the State law claims.” April 6 Letter at 2. Plaintiff subsequently filed a
  letter “withdrawing consent to the dismissal of those claims.” April 12 Letter at 1. The Court will
  revisit this issue should the states implicated in this matter timely seek reinstatement.

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claim in an already-pending action. See 31 U.S.C. § 3730(b)(5) (“[N]o person other than

the Government may intervene or bring a related action based on the facts underlying the

pending action . . . .”). When considering a challenge under that rule, a court must

therefore determine if a new FCA claim is related to an already-pending FCA claim. To do

so, the Court will apply the test used by the majority of Circuits—the essential claim

test—which looks not to whether the more recently-filed FCA claim is identical to an FCA

claim in an already-pending action, but to “whether the complaints allege the same material

facts, i.e. whether they involve the same core conduct, and would give rise to separate

recovery.” Id. at 76.

      Defendants argue that plaintiff’s off-label promotion claim is barred by the first-to-

file rule—and this Court therefore does not have subject matter jurisdiction over such

claim—because it is based on the same facts as an earlier-filed case in Delaware, which also

alleges off-label promotion. In rebuttal, plaintiff argues that her claim is distinct because

(1) she alleges off-label promotion to treat different diseases than those alleged to have

been promoted off-label in the Delaware action, (2) she alleges off-label promotion of

Seroquel IR, whereas the Delaware action concerns off-label promotion of Seroquel XR,

a different drug, and (3) the Delaware action is no longer pending.

      Plaintiff’s first argument is unavailing. The False Claims act bars any person from

bringing a related action based on the facts underlying an already-filed action. To find that



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plaintiff could avoid the first-to-file bar by enumerating different diseases for which

defendants promoted the same prescription drug off-label would mean transforming the

statute’s language from “related action” to “identical action.” See 31 U.S.C. § 3730(b)(5).

It would also mean disregarding the First Circuit’s well-reasoned application of the

essential element test, which concluded that “promotion of off-label uses of the two same

drugs, but tied to [different] diseases and symptoms . . . [is] not enough to reasonably

conclude the earlier . . . Complaint was not a related claim to the government based on the

facts.” See U.S. ex rel. Wilson v. Bristol-Myers Squibb, Inc., 750 F.3d 111, 119 (1st Cir.

2014).

      Plaintiff’s second argument is factually incorrect. The Third Amended Complaint

in the Delaware action expressly alleges that “AstraZeneca’s off-label promotion of

Seroquel IR and Seroquel XR caused physicians to prescribe both drugs for non-medically

accepted uses . . . .” U.S. ex rel. Tracey Miksell-Branch v. AstraZeneca, et al., No. 10-cv-

154 (D. Del.), Third Amended Complaint at ¶¶ 112-135.

      Plaintiff’s final argument is that the Delaware case is no longer pending because the

parties agreed to stay the case. After such agreement, the district court stayed and

administratively terminated the case “in a way that preserves the status quo of [the a]ction

as of the date of the stay.” U.S. ex rel. Tracey Miksell-Branch v. AstraZeneca, et al., No.

10-cv-154 (D. Del.), Joint Stipulation Requesting Stay of Action at 4. However, the

Delaware case was never dismissed. And as the Supreme Court recently instructed, “a qui

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tam suit under the FCA ceases to be ‘pending’ once it is dismissed.” Kellogg Brown &

Root Servs., Inc. v. U.S., ex rel. Carter, 135 S. Ct. 1970, 1979 (2015) (emphasis added).

      As the pending Delaware action alleges off-label promotion of Seroquel IR and

Seroquel XR, plaintiff’s off-label promotion allegations are barred by the first-to-file rule.

Therefore, pursuant to Rule 12(b)(1), the Court dismisses those claims.

      B. Rule 12(b)(6) Motion.

             1. Count One.

      Count One in the Ninth Amended Complaint alleges a violation of the False Claims

Act. An entity is liable under the False Claims Act when it “‘knowingly presents, or causes

to be presented, a false or fraudulent claim for payment or approval’ to the U.S.

government; or . . . ‘knowingly makes, uses, or causes to be made or used, a false record

or statement material to a false or fraudulent claim.’” U.S. ex rel. Polansky v. Pfizer, Inc.,

822 F.3d 613, 618 (2d Cir. 2016) (quoting 31 U.S.C. § 3729(a)-(b)).

      The Court, taking the allegations as true and viewing the complaint in the light most

favorable to plaintiff, finds she has met this burden with regards to the QT/QTc interval

prolongation claims. Plaintiff alleges that federal Medicare paid for Seroquel prescriptions

that were prescribed concomitantly with QT/QTc prolonging medications from 1997 to

2009. NAC at ¶¶ 259, 815. She alleges those claims were factually false because

defendants misrepresented the risk of drug interaction between Seroquel and QT/QTc

prolonging medications in the requisite drug utilization review so that the Seroquel

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prescriptions would be filled and the government would pay those claims. Id. at, e.g. ¶ 106;

see also Mikes v. Straus, 274 F.3d 687, 697 (2d Cir. 2001) (abrogated on other grounds by

Universal Health Servs., Inc. v. United States, 136 S. Ct. 1989, 195 L. Ed. 2d 348 (2016))

(“[A] factually false’ certification, . . . involves an incorrect description of goods or services

provided or a request for reimbursement for goods or services never provided.”).

       Plaintiff also alleges the claims were legally false. Defendants were party to two

Corporate Integrity Agreements with the federal government that required compliance with

all relevant laws to participate in federal health programs. However, they allegedly

disregarded these agreements when they failed to disclose the risk of prescribing Seroquel

with QT/QTc prolonging medications—as required by federal regulations—so that they

could continue to participate in federal health programs. See Mikes, 274 F.3d at 697 (A

legally false certification is “a false representation of compliance with a federal statute or

regulation or a prescribed contractual term.”).

       The Court is satisfied that plaintiff has met the pleading standard for False Claims

Act cases under Rule 9(b). She alleges facts throughout her complaint that establish a

fraudulent scheme in each instance where Seroquel was prescribed with QT/QTc

medications without warning from defendants, who allegedly knew of the risk in

concomitantly prescribing such medications. In this way, plaintiff appropriately alleges a

“complex fraudulent scheme . . . occurring over a lengthy period of time and involving

thousands of billing documents,” which relaxes the Rule 9(b) pleading standard. U.S. ex

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rel. Mooney v. Americare, Inc., 2013 WL 1346022, at *3 (E.D.N.Y. Apr. 3, 2013).

             2. Count Two.

      Count Two in the Ninth Amended Complaint alleges that defendants violated the

Corporate Integrity Agreements. In oral argument, plaintiff acknowledged that Count Two

was not intended to be a breach of contract claim—for which she would lack standing—but

rather an inartfully pleaded reverse false claim. A reverse false claim would be extant when

an individual “knowingly conceals or knowingly and improperly avoids or decreases an

obligation to pay or transmit money or property to the Government.” 31 U.S.C. §

3729(a)(1)(G).

      Plaintiff reasons that defendants’ failure to disclose the risks of concomitantly

prescribing Seroquel with QT/QTc prolonging medications enabled them to avoid paying

stipulated damages to the federal government for this breach of the Corporate Integrity

Agreements. This argument is unpersuasive for the same reason the Massachusetts district

court dismissed a plaintiff’s reverse false claim in U.S. ex rel. Booker v. Pfizer, Inc., 9 F.

Supp. 3d 34, 50 (D. Mass. 2014): the stipulated penalties themselves are not an obligation

owed to the federal government.        They are not automatically imposed; rather, the

government must choose to impose stipulated penalties and defendants may appeal such

imposition with an administrative law judge. As the district court in Booker convincingly

reasoned:

      The mere fact that [defendant’s] failure to report “might result in a fine or
      penalty is insufficient” to establish an “obligation” to pay the government
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      under § 3729(a)(1)(G). U.S. ex rel. Bahrani v. Conagra, Inc., 465 F.3d 1189,
      1195 (10th Cir.2006). When “potential fines depend on intervening
      discretionary governmental acts, they are not sufficient to create ‘obligations
      to pay.’” U.S. ex rel. Marcy v. Rowan Companies, Inc., 520 F.3d 384, 391
      (5th Cir.2008). Without an obligation, [defendant] had nothing to avoid, and
      relators’ claim under § 3729(a)(1)(G) must fail.

Id. at 49-50.

                                    CONCLUSION

      For the aforementioned reasons, defendants’ Rule 12(b)(1) motion is GRANTED and

the Rule 12(b)(6) motion is DENIED as to the QT/QTc federal claim in Count One and

GRANTED as to Count Two.

SO ORDERED

                                                /S/ Frederic Block________
                                                FREDERIC BLOCK
                                                Senior United States District Judge
Brooklyn, New York
April 17, 2017




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